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lml


                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS




UNITED STATES OF AMERICA,                )
                                         )
                        Plaintiff,       )
      vs.                                )                 Case No. 03-40142-01-02-JAR
                                         )
                                         )
DAVID C. WITTIG and                      )
DOUGLAS T. LAKE                          )
                                         )
                        Defendants.      )
                                         )
________________________________________ )

                              MEMORANDUM AND ORDER

       On September 15, 2005, the jury returned a special verdict against defendants David

Wittig and Douglas Lake on Count 40 of the First Superseding Indictment directing that certain

property be forfeited as the proceeds of various crimes. On September 28, 2005, the government

and defendant Lake entered into a Joint Proposed Preliminary Order of Forfeiture (Doc. 521).

The government and defendant Wittig were unable to agree on a preliminary order of forfeiture,

however, and this matter is now before the Court on the following matters: United States’

Motion for Preliminary Order of Forfeiture as to David C. Wittig (Doc. 522); defendant Wittig’s

Motion to Stay Seizure and Disposition of Property Prior to Sentencing (Doc. 539); and

defendant Wittig’s Motion to Set Aside Special Verdicts of Forfeiture (Doc. 540), which

defendant Lake has joined, in part (Doc. 543).

       A hearing was held on December 12, 2005. The parties advised the Court that defendant
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Wittig’s motion to stay seizure and disposition of property had been resolved, and an agreed

Occupancy Order would be submitted. After hearing argument and statements of counsel, the

Court took the remaining matters under advisement. The Court has reviewed the parties’

submissions and arguments, and is ready to rule.

         Procedural Background

         In this case, both defendants opted to have the jury determine whether the government

has established the requisite nexus between the property and the offenses committed.1 Although

the Court denied the government’s request to have the jury award a money judgment,2 it did

include an interrogatory in the special verdict forms asking the jury to quantify the value of the

forfeited property, to the extent possible.3 In addition, at defendants’ request, the Court included

an interrogatory asking the jury to identify from which offense or offenses the forfeited property

was derived from or traceable to, giving three options: (1) conspiracy to commit wire fraud; (2)

conspiracy to commit money laundering; and/or (3) wire fraud.




         1
          Fed. R. Crim. P. 32.2(b)(4).
         2
          Id. advisory committee’s notes. Count 40 of the original Indictment included a request for a money
judgment against both defendants for specific amounts relative to compensation and attorneys’ fees; this request for
money judgment was omitted from Count 40 of the First Superseding Indictment, which only requested forfeiture of
specific property. During the first trial, the government submitted instructions requesting a money judgment for the
defendants’ compensation and attorneys’ fees. The Court denied the government’s request, and instead broke the
items of compensation into the categories set forth in the First Superseding Indictment. The government did not
renew its request for a money judgment at the retrial.
         3
          This was done at the first trial out of an abundance of caution, as the decision in Blakely v. Washington,
542 U.S. 961 (2004), arguably raised the question of whether the jury should make this type of fact finding, as well
as to help avoid any potential “double counting” that the defendants complained of. Although the Blakely issue was
resolved by the retrial, the value quantification remained in the verdict forms at the retrial.

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        Discussion

         I.      Motion to Set Aside Special Verdicts of Forfeiture

        Wittig moves pursuant to Fed. R. Crim. P. 29(c), to set aside the special forfeiture

verdicts with respect to six forfeited items on the grounds that the verdicts are inconsistent with

the evidence presented at trial and must fail as a matter of fact and law. Additionally, Wittig

objects to the forfeiture verdict in its entirety based on the government’s failure to prove the

alleged crimes underlying Count 40, incorporating the defendants’ joint renewed Rule 29

motions for judgments of acquittal (Docs. 493 and 541). For purposes of this motion only, the

Court will assume that there is sufficient evidence on the underlying crimes, and has advised the

parties that it will defer ruling on those pending motions.

        In reviewing a motion for judgment of acquittal, the court views the evidence in the light

most favorable to the government.4 The court must uphold a jury’s guilty verdict if “‘any

rational trier of fact could have found the essential elements of the crime beyond a reasonable

doubt.’”5 However, since the preponderance of the evidence standard applied to the forfeiture

proceedings, the Court finds that this standard, as opposed to the reasonable doubt standard,

should apply.6

Thus, the Court must inquire as to whether the evidence is sufficient to permit a reasonable jury

to conclude that the government has proven, by a preponderance of the evidence, that certain

property is subject to forfeiture.


        4
         United States v. Hughes, 191 F.3d 1317, 1321 (10th Cir.1999) (citation omitted).
        5
         United States v. Haber, 251 F.3d 881, 887 (10th Cir. 2001) (quoting United States v. Schluneger, 184 F.3d
1154, 1158 (10th Cir. 1999)).
        6
         United States v. Loe, 49 F. Supp. 2d 514, 517 (E.D. Tex.1999).

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        The government sought forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.

§ 2461(c). Under § 981(a)(1)(C), property is subject to forfeiture if it constitutes or is derived

from proceeds traceable to at least one of the offenses for which the defendant has been found

guilty, in this case conspiracy to commit wire fraud, conspiracy to commit money laundering, or

wire fraud.7 As the Court explained in its supplemental forfeiture instructions to the jury,

property “derived from” the proceeds of an offense means money or other property obtained

directly or indirectly using money or any other source of wealth gained as a result of the

offense.8 Property “traceable to” means property where the acquisition is attributable to the

offense for which the defendant has been found guilty, rather than from untainted sources.9 A

preponderance of the evidence means proof that something is more likely true than not true.10

        Defendant Wittig objects to the special verdicts of forfeiture with respect to six specific

items; defendant Lake partially joins as to two items. The Court will address each item in turn.

        A. Item 6 (split dollar life insurance policies, imputed income and payout)

        The jury determined that “Split Dollar Life Insurance policies, imputed income and

payout” in the amount of $28,033,952 should be forfeited because such property constitutes or is

derived from proceeds traceable to the crime of wire fraud. Defendant Wittig objects to the



        7
          The Court denied defendants’ motion to dismiss Count 40 on the ground that 18 U.S.C. § 981did not
authorize criminal forfeiture for wire fraud without the special circumstances that need to be present under § 982.
Since then, another court has recently joined the debate, concluding as this Court did, that CAFRA authorizes
criminal forfeiture for wire fraud without special circumstances. See United States v. Schlesinger, 2005 WL
2737051 (E. D. N. Y., Oct. 7, 2005). The Court also held that § 981 did not authorize criminal forfeiture for money
laundering, as there is an existing criminal forfeiture provision found at 18 U.S.C.§ 982.
        8
         Supplemental Forfeiture Jury Instruction (Doc. 532).
        9
         Doc. 532.
        10
            Doc.532.

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jury’s verdict on two grounds. First, while recognizing that the extent of Westar’s interest will

be determined in ancillary proceedings, defendant argues that Westar, not Wittig, owns the split

dollar life insurance policy. What remains, if anything, is Wittig’s rights under the split dollar

life insurance agreement, which defined the relationship between Westar and Wittig with respect

to the split dollar life insurance policy. But, Wittig argues, the government did not ask, and the

jury did not order, any rights under that agreement to be forfeited. Instead, the government

asked the jury to forfeit only an insurance policy that does not belong to Wittig, and in which he

has no interest.

        Second, defendant Wittig argues that no evidence was presented that identified what

“imputed income” was, much less the amount of any such income. In its special verdict, the jury

adopted the government’s reference to the face value of the policy, but identified no value for

“imputed income.” Similarly, while there was evidence at trial that Wittig received $4 million

when he exercised his “put” right under the split dollar agreement in 2002, the government never

requested during the forfeiture proceedings or in the special verdict form that the jury make any

findings as to this item. Because the jury made no findings in its special verdict with respect to

the value of “imputed income” or “payout,” Wittig argues the Court cannot enter an order for an

unspecified amount with respect to either of these items, and this portion of the verdict must be

set aside.

        Neither argument has merit. The jury forfeited to the government defendant Wittig’s

interest in the split dollar life insurance policy, imputed income and payout. Defendant Wittig

alleges that he had no ownership interest in the split dollar policy, but rather, an indirect interest

derived from the split dollar agreement. Wittig’s primary concern seems to be with the extent of


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his interest in the split dollar policy. This argument is premature and not his to make. As the

government points out, a defendant does not have standing to object to forfeiture on the grounds

that a third party owns the property.11 Although the jury assigned a value to the property listed

in Item 6 in the amount of $28,033,925, the face amount of the split dollar policy, this does not

amount to a finding by the jury of the extent of the defendant’s interest in the forfeited property.

Indeed, the jury was instructed by the Court to not concern itself with anyone’s ownership

interest in the property, as the jury’s responsibility is solely to determine whether the

government has adequately proven the nexus between the offenses and the property.12 A

determination of the extent of a defendant’s interest in the property is deferred until the ancillary

proceedings.13 Because the jury found that the government established the nexus between the

offense and the property, the Court will enter a preliminary order of forfeiture “of whatever

interest a defendant may have in the property without having to determine exactly what that

interest is . . . .”14

          Regardless of what the extent of Wittig’s interest in the split dollar policy turns out to be,

he does not dispute that he has an interest in the imputed income or payout. Contrary to

defendant’s claim, there was evidence presented at trial regarding the imputed income and

payout. The evidence showed that Wittig received a split dollar agreement from Westar,

knowing that it varied materially from the program as originally anticipated by the Westar board



         11
           Fed. R. Crim. P. 32.2(c)(2).
         12
           Fed. R. Crim. P. 32.2(b)(4).
         13
           Fed. R. Crim. P. 32.2 advisory committee’s notes.
         14
           Id.

                                                         6
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of directors. This material variance was that Westar purchased a split dollar life insurance

policy for a premium of $3.4 million, or more than twice the short term incentive bonus to which

defendant Wittig was otherwise entitled. The evidence at trial established that Wittig had the

right to sell the death benefits back to Westar up to the face value of the insurance policy, or

approximately $28 million. The evidence showed that this option to “put” death benefits for

cash had no true relationship to the split dollar life insurance arrangement, and was not honest

and fair disclosure to the Westar board. The split dollar policy could be worth up to $28 million

in “put” benefits, but in any event, no less than $14 million under the terms of the split dollar

agreement. Defendant Wittig amended his agreement through the pretense that he could exercise

his “put” rights in small increments, then sold or “put” $4 million of his death benefits to Westar,

receiving $2 million in cash, days after receiving a grand jury subpoena. This $2 million is the

payout that the jury determined was subject to forfeiture.15 The government also presented

evidence that Wittig received $200,570.24 of imputed income from the split dollar life insurance

policy.16 The $28 million maximum value of the split dollar policy would necessarily encompass

the imputed income and payout of $2,200,570.24. The evidence presented in this case is

sufficient to permit a reasonable jury to conclude that the government has proven, by a

preponderance of the evidence, that this property constituted or was derived from proceeds

traceable to the wire fraud.

       B.       Item 8 (Long Term Incentive)

       During the forfeiture proceedings closing argument, the government requested the jury to



       15
         (Gov’t Ex. 615).
       16
         Id.

                                                  7
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determine that Wittig’s long term incentive had a value in the amount of $52,086.42. Defendant

Wittig argues that the jury evidently rejected this evidence, because it returned a special verdict

identifying the property as subject to forfeiture, but valuing the property at zero. Defendant

Lake joins in this objection, which was Item 7 on his special verdict form.

        The government responds as above, that the jury found a nexus between the property and

the crimes, checking off on all three boxes that the property constituted or is derived from

proceeds traceable to conspiracy to commit wire fraud, conspiracy to commit money laundering

and wire fraud, and the interest of defendant in that property is now forfeited, whatever that

interest may be. The fact that the jury valued the property at zero is irrelevant at this point in the

proceedings. The extent of defendant’s interest will be determined in the ancillary proceeding.17

        C.       Items 15, 16 and 17 (property funded in whole or in part by the Capital City
                 Bank Line of Credit: the Landon Mansion, art and furnishings and Ferrari)

        The government contends that any item that was funded, in whole or in part, through

Wittig’s line of credit at Capital City Bank constituted “proceeds” of wire fraud because the line

of credit was collateralized with assets the government contended were fraudulently acquired.

Defendant Wittig argues that the evidence shows that the factual predicate for this conclusion--

Wittig pledging “tainted” collateral to Capital City Bank--is lacking, and therefore, the line of

credit cannot support complete forfeiture of the Landon Mansion, $700,000 in art and

furnishings, and the Ferrari. Wittig argues that the special verdict demonstrates that the

government did not succeed in proving by a preponderance of the evidence that the Westar stock

was obtained by fraud because the jury refused to order the forfeiture of this stock. At best,


       17
          This item was omitted from defendant Lake’s Preliminary Order of Forfeiture. The Court will leave to the
government whether to amend the order to include this item.

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Wittig argues, the funds from the line of credit were “tainted” only to the extent they were

collateralized by $1 million of Wittig’s split dollar benefit, and the “taint” cannot exceed the

proportionate value the split dollar agreement bears to the entire collateral, or 13.5%.18

         The Court disagrees. The fact that the jury chose not to forfeit the Westar stock during

the forfeiture phase of the trial does not provide defendant Wittig with relief, as inconsistent

verdicts do not impeach findings of guilt.19 The evidence at trial showed that as part of the

scheme to defraud, defendants used sophisticated means to deprive Westar and its shareholders

of the right to honest services and obtain stock and other compensation, under false pretenses.

As part of this scheme, defendant Wittig obtained Westar stock as part of his compensation as

well as from the change in control scheme. The evidence also showed that as part of the scheme

to defraud, defendants Wittig and Lake caused to be added to their employment agreements,

without the knowledge and approval of the Westar board, that upon a change in control, Westar

would purchase their residences from them at the higher of the appraised value or the purchase

price, plus all improvements, plus 17%. Although his residence had never been appraised at

more than $2 million, Wittig used Westar stock received from Westar and split dollar benefits as

collateral for a line of credit at Capital City Bank. Both items of collateral were proceeds

traceable to the scheme to defraud. Using this line of credit, defendant Wittig intentionally over-

renovated the Landon Mansion, expecting that Westar would have to pay him upon a change of


         18
            Defendant arrived at the 13.5% figure by dividing $1 million (split dollar policy benefits) by $7.4 (total
collateral).
         19
           United States v. Powell, 469 U.S. 57, 64, 67 (1984) (a jury acquittal may simply be the result of the jury’s
“mistake, compromise, or leniency,” rather than a conclusion that the defendant is not guilty; “sufficiency-of-the-
evidence review . . . . should be independent of the jury’s determination that the evidence on another count was
insufficient”); see also United States v. Sims, 144 F.3d 1082, 1084 (7th Cir. 1998) (inconsistent forfeiture verdicts
are no more problematic than inconsistent verdicts on substantive offenses) (citation omitted).

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control in the Company. Thus, the Court agrees with the government that all assets that were

acquired or funded out of the line of credit are derived from proceeds traceable to the wire fraud.

         Defendant Wittig contends that the Landon Mansion, art and interior furnishings, and

Ferrari are not subject to forfeiture. The Court addresses each property in turn.

        1.       Landon Mansion

        Defendant Wittig first takes issue with the government’s theory seeking forfeiture of the

Landon Mansion--that Wittig’s scheme to defraud Westar included a plan to over-renovate his

residence and have Westar purchase it from him upon a change in control. The evidence at trial

established that the change in control never came about and Wittig never actually received any

funds from Westar for the Landon Mansion. Wittig acknowledges that for purposes of criminal

liability, a scheme to defraud need not succeed in order to constitute a crime. But, he argues, in

order to trigger a forfeiture, a fraudulent scheme must generate property that can be identified as

proceeds of that crime, or property that is “traceable to” a crime. “[P]roperty ‘traceable to’

means property where the acquisition is attributable to the . . . scheme rather than money from

untainted sources.”20 If the scheme alleged by the government never progressed to the point of

generating proceeds, there is no basis for ordering forfeiture of those non-existent proceeds.

Thus, Wittig argues, the government failed to show that the Landon Mansion was acquired

through the scheme it described, and the Landon Mansion does not constitute proceeds of the

wire fraud.

        The Court disagrees. As previously discussed, the evidence at trial showed that use of

the line of credit to over-renovate the Landon Mansion was part of defendant Wittig’s scheme to

         20
            United States v. Bornfield, 145 F.3d 1123, 1135 (10th Cir. 1998) (dealing with money laundering under 18
U.S.C. § 1957).

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defraud Westar, an offense for which defendant was found guilty beyond a reasonable doubt.

That the change in control never materialized does not alter the fact that proceeds traceable to

the scheme to defraud were used to renovate the Landon Mansion. The Court will not overturn

the jury’s verdict on these grounds.

       Defendant Wittig also argues that the government’s evidence does not support forfeiture

of the entire Landon Mansion. Instead, Wittig argues, the government only proved that he spent

$3,763,237.76 from the Capital City Bank line of credit, based on checks from that account

payable to Fritzel Construction. The Court agrees with this argument, if not the math. The

government does not contend that the Landon Mansion was purchased or obtained fraudulently,

but rather, that the fraud stems from its over-renovation. Wittig testified before the grand jury

that the Capital City Bank line of credit funded the acquisition of improvements of the Landon

Mansion, and that he put approximately $6.5 million into the residence. The government’s

evidence at the forfeiture proceedings, however, showed that checks were drawn on this line of

credit between August 11, 2000 and October 11, 2001, payable to Fritzel Construction, in the

total amount of $4,013,719.40.21 Although the government contended that defendant Wittig

spent approximately $6.5 million to renovate the residence, it did not offer any proof of

additional expenditures on the renovation from the line of credit. By the government’s own

characterization, all assets that were acquired or funded out of the line of credit are derived from

proceeds traceable to the scheme to defraud. While defendant Wittig may have spent $6.5

million to renovate the Landon Mansion, the government’s proof at trial regarding payment to

Fritzel Construction from the line of credit account was limited to approximately $4 million.


       21
         (Gov’t Ex. 612).

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Because the preponderance of the evidence does not support the jury’s forfeiture of the entire

Landon Mansion, the Court will reduce the verdict to reflect the amount actually expended to

renovate the residence from the line of credit, or $4,013,719.40.

       2.       Art and Interior Furnishings

       Count 40 sought forfeiture of “$1,974,289.20 in art and interior furnishings,” as detailed

in an insurance inventory dated June 2003. At trial, the government introduced a letter

indicating that on April 19, 2001, Wittig notified Capital City Bank that “The house expenditures

are winding down. I expect to pay Fritzel an additional 1.2 million, $700,000 for furnishings and

600,000 for landscaping, for a total of 2.5 million.”22 The government argued that this letter was

evidence that Wittig in fact paid $700,000 for furnishings, that the $700,000 was part of the

payments to Fritzel Construction, and that the same $700,000 was somehow related to the list of

items attached to the Indictment. The government also introduced as evidence the list of

furnishings that was attached to the Indictment.23

       Bob Kobbeman of Capital City Bank testified at the forfeiture proceedings that he had no

personal knowledge of the list of art and furnishings, and that he was unable to state how or

when any item on the list had been acquired or if any had been acquired at all. The witness was

unable to correlate the listed items with the $700,000 figure estimated by Wittig in his April

2001 letter to Capital City Bank, or with any specific expenditure ever made by Wittig.

Kobbeman also admitted that he had no knowledge of any connection between Fritzel

Construction and the items on the list. The government argued in closing that it had “showed



       22
         (Gov’t Ex. 131M).
       23
         (Gov’t Ex. 601).

                                                12
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during the forfeiture phase of this case that the furnishings were being acquired by Fritzel as part

of the overall construction of the residence.” Wittig argues that the government failed to prove

anything with respect to the furnishings, much less that they were proceeds of a crime.

       As discussed above, the evidence at trial showed that Wittig payed $4,013,719.40 to

Fritzel Construction from the Capital City Bank line of credit. Of that amount, $1,215,025.70

was paid after April 19, 2001, the date of Wittig’s letter to Capital City Bank. This is consistent

with Wittig’s representation that he expected “to pay Fritzel an additional $1.2 million.” The

government did not present evidence that Wittig paid an additional $700,000 for furnishings and

$600,000 for landscaping from the line of credit, over and above the approximate $4 million

discussed above with respect to the Landon Mansion. Notably, the government elected not to

call any representative of Fritzel Construction or the home decorator to explain how these items

were acquired. The only evidence offered was the list of items, dated June 2003, and the letter to

Capital City Bank indicating Wittig expected to pay $700,000 for furnishings. Because the

government did not prove by a preponderance of the evidence that Item 16, the art and interior

furnishings, were derived from proceeds traceable to the wire fraud, the verdict with respect to

this item is overturned.

       3.       Ferrari

       During the forfeiture proceedings, the government reduced its claim with respect to the

Ferrari to $17,460, that part of the initial purchase price that the government showed was paid

from the Capital City Bank line of credit.24 Wittig characterizes the government’s theory with

respect to the Ferrari as essentially the same as the Landon Mansion. For the reasons stated


       24
         (Gov’t Ex. 610).

                                                 13
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above, the Court finds that the evidence with respect to the Ferrari is sufficient, and will not

overturn the jury’s verdict with respect to this property.

        D.       Item 18 E (unpaid benefits claimed by the defendant as a result of a qualified
                 termination) and Item 20 (any arbitration award)

        Under Item 18, subpart E of the special verdict form, the jury found that “unpaid benefits

claimed by the defendant as a result of a Qualified Termination” constitutes or is derived from

proceeds traceable to the offenses of conspiracy to commit wire fraud, conspiracy to commit

money laundering, and wire fraud.25 The jury was not asked to assign a value to the amount of

these unpaid benefits. Under Item 20, the jury forfeited “any arbitration award granted to

defendants Wittig and Lake, jointly or individually, arising out of their employment at Westar

and any subsidiary or affiliate company,” also linking this property to all three offenses, and

assigning no value. Wittig argues that no evidence was presented at trial, either at the guilt or

forfeiture phase, as to what those benefits are or whether any have been claimed. Lake joins in

this objection, which relates to Item 14, subpart E and Item 16 of his special verdict form.

        As evidence in support of these items, the government introduced a copy of the

counterclaims prepared on defendants’ behalf in an American Arbitration Association arbitration

arising out of their employment with Westar.26 Defendants argue that because the government

failed to provide any evidence as to the nature or amount of these items, the effect of this

deficiency, when read in the light most favorable to the government, is to assign the government

an unspecified, and therefore worthless, interest in the property.


        25
          Defendant does not take issue with the remaining subparts of Item 18.
        26
           Defendants objected to admission of Government Exs. 254 and 255, on the basis that these counterclaims
were submitted to Westar counsel, but not filed in the arbitration proceedings. The Court denied defendants’
objection, finding this went to the weight of the evidence, rather than admissibility.

                                                       14
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       Defendants also argue that the jury did not accept the government’s theory that

everything that defendants Wittig and Lake obtained through their employment with Westar was

“proceeds,” because the jury specifically did not forfeit many items of their compensation,

including short-term incentives, base pay, deferred pay, non-Guardian RSU’s and other benefits.

Thus, to the extent any arbitration award might encompass items specifically determined by the

jury not to be proceeds, such items cannot be forfeited through the “back door” of the arbitration

award. Instead, Wittig argues, to the extent any items were determined by the jury not to be

proceeds, they are covered by the specific verdicts as to each item, and a general question on the

special verdict form cannot circumvent those specific verdicts.

       The Court finds that the evidence is sufficient to permit a reasonable jury to conclude that

the government has proven, by a preponderance of the evidence, that this property is subject to

forfeiture. The government alleged that defendants’ employment agreements were fraudulently

obtained. The jury heard extensive evidence regarding the terms of both defendants’ respective

employment agreements with Westar. The counterclaims prepared by both Wittig and Lake

against Westar are detailed and comprehensive, clearly setting forth the amounts and basis of

their claims against Westar in the arbitration proceedings. Defendants’ claims stem from their

respective terminations from Westar; Wittig’s counterclaim amounts to $110 million and Lake’s

amounts to $220 million. Both defendants make specific claims against Westar for itemized

payments and benefits required upon a “qualifying termination.”27 In addition to claims for

compensation, both defendants assert multi-million dollar claims against Westar for violation of

their right to privacy, deprivation of future earnings, and other causes of action. The fact that


       27
         Gov’t Ex. 254 at 4-5 (Wittig); Gov’t Ex. 255 at 29-31 (Lake).

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these claims are unliquidated or inchoate is irrelevant, as property subject to criminal forfeiture

includes “tangible and intangible personal property, including rights, privileges, interests, claims,

and securities.”28 As the Court explained above, because the jury found that the government

established the nexus between the offenses and the property, the Court will enter a preliminary

order of forfeiture “of whatever interest a defendant may have in the property without having to

determine exactly what that interest is . . . .”29

        The Court is unpersuaded by defendants’ concern that any arbitration award might

encompass items determined by the jury not to be subject to forfeiture, specifically those found

in Items 1-5, 7, and 10-13 in defendant Wittig’s special verdict form, and those found in Items 1-

6, 8, and 10-12 in defendant Lakes’ special verdict form. Unlike defendants’ claims in the

arbitration proceedings, these specific items of compensation are for liquidated amounts already

paid to defendants, e.g., all base pay, short-term incentives, and health and dental benefits. By

contrast, most of the compensation claims in the arbitration proceedings are for unpaid payments

and benefits, or those defendants claim Westar is required to provide as a result of the

“qualifying termination.” Moreover, to the extent there is any overlap, the Court will not read

into the jury’s verdict declining the forfeiture of certain items as a rejection of the government’s

theory; the inference drawn from the jury’s verdict could also be that they wanted Westar to

recover these assets from the defendants through the arbitration proceedings, rather than forfeit

them to the government. As stated above, inconsistent verdicts do not impeach the jury’s

findings. The Court will not overturn the special verdicts on these grounds.



        28
          21 U.S.C. § 853(b)(2).
        29
          Fed. R. Crim. P. 32.2 advisory committee’s notes.

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       II.     Motion for Preliminary Order of Forfeiture

       The government seeks entry of a Preliminary Order of Forfeiture as to Wittig, requesting,

inter alia, that it be authorized to conduct discovery and seize the specific property subject to

forfeiture, whether held by defendant or a third party. Upon issuance of the Preliminary Order,

the government will publish notice of the order and its intent to dispose of the property in such a

manner as the Attorney General shall direct and notice that any third-party having or claiming a

legal interest in the property must file a petition with the Court within 30 days, for a hearing to

adjudicate the validity of the petitioner’s interest in the forfeited property. The government also

requests the Court enter an order continuing the restraining order previously entered on February

13, 2004 and April 5, 2004, with the exception of payments for attorneys’ fees, until entry of a

final order of forfeiture and the resolution of any appeals from the final order. Citing Rule

32.2(b), the government contemplates that the Court may include in the Preliminary Order

conditions reasonably necessary to preserve the property’s value pending an appeal, and that a

hearing may be necessary to determine such conditions. Defendant Wittig responded to this

motion with his motion to set aside special verdicts, supra, and a motion to stay seizure and

disposition of property prior to sentencing (Doc.539). This latter motion dealt specifically with

the Landon Mansion. The parties have indicated that this issue is to be resolved by an agreed

Occupancy Order.

       IT IS THEREFORE ORDERED BY THE COURT that defendant Wittig’s Motion to

Set Aside the Special Verdicts of Forfeiture (Doc. 540) is GRANTED in part and DENIED in

part, and defendant Lake’s Motion to Set Aside Forfeiture (Doc. 543) is DENIED.

       IT IS FURTHER ORDERED that the Government’s Motion for Preliminary Order of


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Forfeiture as to David C. Wittig (Doc. 522) is GRANTED; the Court will enter a separate

Preliminary Order of Forfeiture as to defendant Wittig reflecting the findings set forth herein.

Defendant Wittig’s Motion to Stay Seizure and Disposition (Doc.539) has been resolved by

agreed order, and is DENIED as moot.

       IT IS SO ORDERED.

       Dated this 3rd day of January 2006.

                                                      S/ Julie A. Robinson
                                                     Julie A. Robinson
                                                     United States District Judge




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